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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ALONZO D. JONES, Sr.,                   :   Civil No. 1:19-CV-229
                                        :
             Plaintiff,                 :
                                        :
             v.                         :
                                        :
COUNTY OF YORK, et al.,                 :
                                        :
             Defendants.                :   Judge Jennifer P. Wilson

                                    ORDER

      AND NOW, on this 10th, day of July, 2020, for the reasons set forth in the

accompanying memorandum, IT IS ORDERED that Defendants’ motion for

summary judgment (Doc. 32) is GRANTED. The Clerk of Court is directed to

enter judgment in favor of Defendants County of York and David Sunday and

close this case.

                                     s/Jennifer P. Wilson
                                     JENNIFER P. WILSON
                                     United States District Court Judge
                                     Middle District of Pennsylvania
